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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                                         MIAMI DIVISION

                                CASE NO.: 1:20-cv-22133-JEM

 RYAN MAUNES MAGLANA, on
 his own behalf and as a class
 representative of all other similarly
 situated    Filipino    crewmembers
 trapped aboard CELEBRITY cruise
 vessels,

        Plaintiffs,
                                                          CLASS ACTION &
 v                                                          DEMAND FOR
                                                            JURY TRIAL
 CELEBRITY CRUISES INC.,

       Defendant.
 ______________________________/

      PLAINTIFFS MOTION FOR A PRELIMINARY MANDATORY INJUNCTION
     COMPELLING DEFENDANT TO REPATRIATE ITS FILIPINO CREWMEMBERS

        Plaintiff, RYAN MAUNES MAGLANA, on his own behalf and on behalf of all

 other similarly situated Filipino crewmembers trapped onboard CELEBRITY cruise

 vessels (hereinafter “PLAINTIFFS”) through undersigned counsel and pursuant to

 Federal Rules of Civil Procedure 23 and 65, hereby move the Court to set a hearing on

 their Emergency Motion for a Preliminary Injunction for Hearing, and in support thereof,

 would state:

        1.      On May 21st, 2020, Plaintiffs filed their VERIFIED COMPLAINT FOR

 EMEREGENCY INJUNCTIVE RELIEF & DAMAGES alleging that Plaintiffs are entitled

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 to relief from this Court for violations of their collective rights under Title VII of the Civil

 Rights Act of 1964 ("Title VII"), 42 U.S.C. § 2000e et seq., including but not limited

 to their right to not be discriminated against by their employer on the basis of

 their national identity, in addition to their rights as seafarers’ under the General

 Maritime Law of the United States, the Jones Act 46 U.S.C. § 30104, and 46 U.S.C. § 10313.

        2.     Plaintiffs seek a preliminary injunction requiring Defendants, their officers,

 employees, and agents, all persons acting in active concert or participation with

 Defendants, or under Defendants’ supervision, direction, or control, and all other persons

 within the scope of Federal Rule of Civil Procedure 65, to repatriate the approximate 1700

 Filipino seafarers that are being held captive aboard the ships in Defendant’s fleet,

 provide them with back pay wages that were not paid despite Defendant’s failure to

 repatriate them in accordance with its obligations under US and International maritime

 law.

        3.     Federal Rule of Civil Procedure 65 provides for the issuance of a

 preliminary injunction under circumstances such as those that exist in the present case.

        4.     In support of this motion, Plaintiff submits a Memorandum of Law,

 addressing all necessary elements for the entry of a preliminary injunction and

 preliminary injunction.

        5.     Plaintiff’s Verified Complaint seeks emergency injunctive relief because the

 longer Plaintiffs’ are collectively held against their will by Defendant in violation of the

 Plaintiffs’ right to repatriation has and will continue to cause Plaintiffs’ irreparable harm



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 including the risk of suicide and emotional distress caused by Defendant’s intentional

 actions.

        6.     Plaintiff seeks leave to present 30 minutes of oral argument in support of

 this motion pursuant to Local Civil Rule 7.1(b).

        WHEREFORE, for the foregoing reasons, and for those set forth in Plaintiff's

 supporting Memorandum of Law and the Declarations of Plaintiff RYAN MAUNES

 MAGLANA on his own behalf and on behalf of all similarly situated Filipino seafarers in

 CELEBRITY’S fleet in their VERIFIED COMPLAINT, Plaintiffs respectfully moves that

 the Court enter a preliminary injunction requiring Defendants, their officers, employees,

 and agents, all persons acting in active concert or participation with Defendants, or under

 Defendants' supervision, direction, or control, and all other persons within the scope of

 Federal Rule of Civil Procedure 65, to repatriate the approximately 1700 Filipino seafarers

 that are being held captive aboard the ships in Defendant’s fleet in addition to providing

 them with back-pay wages that were not paid despite Defendant’s failure to repatriate

 them in accordance with its obligations under US and International maritime law and all

 other equitable relief or otherwise this Court deems fair and just.

 Dated:        May 25, 2020


                                    BY:    ________________________
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